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                           UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS




JOHN DOE,

                      Plaintiff,

              V.                                          Civil Action No. 15-10790-DJC


TRUSTEES OF BOSTON COLLEGE,

                      Defendant.



                                        VERDICT FORM


We, thejury, find:



Question 1: Has Plaintiff John Doe proved by a preponderance of the evidence that Defendant
            Boston College's "at ease" and/or "no finding" communications with the Hearing
             Board occurred and breached its contract with John Doe to provide basic fairness?

                      Yes X,              No




             Ifyou answered this question "yes, " pleaseproceed to Question 2. Ifyou answered
             this question "no," please skip the remaining questions and have your foreperson
             sign and dale this form.


Question 2: Has Plaintiff John Doe proved by a preponderance of the evidence that Defendant
            Boston College's breach of contract by such interference caused the Hearing Board
             to find him responsible?


                      Yes X               No




             Ifyou answered this question "yes." please proceed to Question 3. Ifyou answered
             this question "no," please skip the remaining questions and have your foreperson
             sign and date thisform.

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Question 3: If you answered yes to Questions 1 and 2, do you further find that Plaintiff John Doe
            has shown by a preponderance of the evidence that he is entitled to damages as a
            result of Defendant Boston College's breach of contract?


                        Yes X             No


             Ifyou answered this question "yes. "please proceed to Question 4. Ifyou answered
             this question "no. " please skip the remaining questions and have your foreperson
             sign and date this form.


Question 4; As a result of Defendant Boston College's breach of contract, what, if any, damages
            do you award Plaintiff John Doe?


                     oF itjci                    S     ^            Lost tuition and fees
        (in words)                              (in figures)
    ^                                 $ 77 6 P7                     Lost income
        (in words)                              (in figures)
        AjJ/\                         $        ^,0 0                Diminished earning capacity
        (in words)                              (in figures)


The undersigned foreperson of the jury hereby certifies that ail members of the jury agree to the
above findings.




DATE                                                FOREPEft:SON'S SIGNATURE
